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12                              IN THE UNITED STATES DISTRICT COURT

13                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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     HINDU AMERICAN FOUNDATION, INC.,                            2:22-CV-01656-DAD-JDP
17   a Florida Not-For-Profit Corporation;
     SAMIR KALRA; MIHIR MEGHANI;                                 DECLARATION OF CARLY J.
18   SANGEETHA SHANKAR; DILIP AMIN,                              MUNSON IN SUPPORT OF
     SUNDAR IYER, RAMANA KOMPELLA,                               DEFENDANT’S MOTION TO DISMISS
19   SHAISHAV DESAI, and SRIVATS IYER,                           SECOND AMENDED COMPLAINT AND
     as individuals;                                             CORRESPONDING REQUEST FOR
20                                                               JUDICIAL NOTICE
                                               Plaintiffs,
21
                     v.
22                                                               Date:        December 3, 2024
                                                                 Time:        1:30 p.m.
23   KEVIN KISH, an individual, in his official                  Judge:       Hon. Dale A. Drozd
     capacity as Director of the California Civil
24   Rights Department; and DOES 1-50,                           Action Filed: September 20, 2022
     inclusive,                                                  Second Am. Compl Filed: August 27, 2024
25
                                             Defendants.
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     Decl. of Carly J. Munson in Supp. of Mot. to Dismiss Second Am. Compl. & Corresponding Req. for Judicial Notice
                                                (2:22-CV-01656-DAD-JDP)
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 1   I, Carly J. Munson, declare as follows:

 2         1.     I am an attorney admitted to practice before the courts of the State of California and

 3   before this Court. I am a Deputy Attorney General with the Office of the Attorney General,

 4   which represents Defendant Kevin Kish in his official capacity as the Director of the California

 5   Civil Rights Department (the “Department”) in the above-captioned matter.

 6         2.     I make this declaration in support of Director Kish’s Motion to Dismiss Second

 7   Amended Complaint Pursuant to Younger Abstention Doctrine, Rule 12(b)(1), and Rule 12(b)(6)

 8   and his corresponding Request for Judicial Notice in Support of Motion to Dismiss Second

 9   Amended Complaint. If called as a witness, I would and could competently testify to the facts

10   stated herein, all of which are within my personal knowledge.

11         3.     Plaintiffs filed their First Amended Complaint in the above-captioned matter on or

12   around September 21, 2023. (ECF No. 21).

13         4.     This case relates to an ongoing matter pending before the California Superior Court

14   for the County of Santa Clara, CRD v. Cisco Systems, Inc., Case No. 20-cv-372366. (See, e.g.,

15   ECF No. 21 ¶ 58). Plaintiffs attached a copy of the Department’s original complaint in that

16   matter, which was filed in October 2020, to their First Amended Complaint as Exhibit A. (ECF

17   No. 21 at 37-56).

18         5.      On December 12, 2023, I spoke with Tim Travelstead, counsel of record for the

19   Hindu American Foundation (HAF) in the above-captioned matter by videoconference and

20   informed him that my client planned to file a motion to dismiss under the Younger abstention

21   doctrine and Rule 12(b). We discussed the bases for Director Kish’s motion and developments in

22   the related state court matter for approximately 45 minutes.

23         6.     Due to ongoing developments in the related state court matter that had the potential to

24   materially affect Director Kish’s response to, and this Court’s consideration of, Plaintiffs’ First

25   Amended Complaint (ECF No. 21) and Motion to Proceed Under Pseudonyms (ECF No. 24),

26   thereafter the parties jointly sought several extensions of time for Director Kish to respond to

27   Plaintiffs’ filings. (See ECF Nos. 29, 31, 33).

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 1         7.     On January 30, 2024, I spoke with Mr. Travelstead again by phone regarding Director

 2   Kish’s anticipated motion to dismiss.

 3         8.     On May 1, 7, 9, 13, and 15, 2024, I communicated with Mr. Travelstead by email

 4   regarding Director Kish’s anticipated motion to dismiss.

 5         9.     On May 16 and 17, 2024, my colleague, Deputy Attorney General Jennifer A.

 6   Soliman, and I met and conferred with Mr. Travelstead again by videoconference for a total of

 7   approximately two hours regarding the substance of Director Kish’s motion to dismiss.

 8   Specifically, we discussed our respective positions with regard to the Younger abstention

 9   doctrine, Plaintiffs’ standing to bring the instant lawsuit under Rule 12(b)(1), the mootness of

10   Plaintiffs Iyer’s and Kompella’s claims under Rule 12(b)(1), and the viability of Plaintiffs’ five

11   claims under Rule 12(b)(6). At the conclusion of our discussions, we agreed that we could not

12   resolve our differences regarding the legal grounds asserted without the Court’s assistance.

13         10.    On May 20, 2024, I filed Director Kish’s Motion to Dismiss the First Amended

14   Complaint. (ECF No. 41).

15         11.    On August 13, 2024, the Court denied Director Kish’s Motion to Dismiss the First

16   Amended Complaint as moot after denying Plaintiffs’ Motion to Proceed Under Pseudonyms.

17   (ECF No. 49). The Court ordered Plaintiffs to amend their complaint within 14 days and stated

18   that Director Kish could renew his motion to dismiss thereafter. (Id.)

19         12.    Plaintiffs filed their Second Amended Complaint in the above-captioned matter on or

20   around August 27, 2024. (ECF No. 50). Plaintiffs’ Second Amended Complaint also includes a

21   copy of the Department’s original complaint in CRD v. Cisco, which was filed in October 2020.

22   (ECF No. 51).

23         13.    On August 28 and September 3 and 5, 2024, I communicated with Mr. Travelstead by

24   email regarding Director Kish’s anticipated motion to dismiss. On September 5, 2024, Ms.

25   Soliman and I met and conferred with Mr. Travelstead again by videoconference regarding the

26   substance of the motion now presented to the Court. We agreed that our clients’ respective

27   positions regarding the Younger abstention doctrine, Plaintiffs’ standing to bring the instant

28   lawsuit under Rule 12(b)(1), the mootness of Plaintiffs Iyer’s and Kompella’s claims under Rule
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 1   12(b)(1), and the viability of Plaintiffs’ five claims under Rule 12(b)(6) had not changed since

 2   Director Kish had filed his Motion to Dismiss the First Amended Complaint. At the conclusion

 3   of our discussions, we agreed that we could not resolve our differences regarding the legal

 4   grounds asserted in the instant motion to dismiss without the Court’s assistance.

 5         14.    The Department has amended its complaint in CRD v. Cisco Systems, Inc. twice since

 6   October 2020. The operative complaint in CRD v. Cisco Systems, Inc. is now the Second

 7   Amended Complaint. The only remaining defendant, Cisco, filed its answer to the Second

 8   Amended Complaint on April 26, 2024. A true and correct copy of the Department’s Motion for

 9   Leave to Amend First Amended Complaint and File Second Amended Complaint, which was

10   filed on December 11, 2023, is attached hereto as Exhibit A. A true and correct copy of the

11   Superior Court’s order granting the Department’s motion, which was issued on March 15, 2024,

12   is attached hereto as Exhibit B. A true and correct copy of the Department’s operative Second

13   Amended Complaint, which was filed on March 18, 2024, is attached hereto as Exhibit C.

14         15.    Plaintiff HAF moved to intervene in the Department’s pending lawsuit against Cisco

15   in Santa Clara County Superior Court. This Court has previously taken judicial notice of HAF’s

16   Motion to Intervene and [Proposed] Complaint in Intervention, which were filed on or around

17   January 7, 2021. (See ECF Nos. 10-1, Exh. B & 20). Thereafter, Plaintiffs Iyer and Kompella

18   sought to join HAF in intervening in CRD v. Cisco. A true and correct copy of HAF’s Reply in

19   Support of HAF’s Motion for Leave to Intervene, which was filed on November 6, 2023, is

20   attached hereto as Exhibit D.

21         16.    The Santa Clara County Superior Court denied HAF’s Motion for Leave to Intervene.

22   A true and correct copy of the Superior Court’s order denying HAF’s motion, which was issued

23   on January 31, 2024, is attached hereto as Exhibit E.

24         17.    HAF filed a notice that it would appeal the Superior Court’s order denying it leave to

25   intervene. A true and correct copy of HAF’s Notice of Appeal, which was filed on March 29,

26   2024, is attached hereto as Exhibit F. Thereafter, HAF abandoned its appeal. A true and correct

27   copy of HAF’s Abandonment of Appeal, which was filed on May 1, 2024, is attached hereto as

28   Exhibit G.
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 1         18.    In its October 2020 complaint against Cisco, the Department brought claims against

 2   two of Cisco’s supervisors, Sundar Iyer and Ramana Kompella, under the FEHA. (See ECF No.

 3   51). The Department has since dismissed its claims against Mr. Iyer and Mr. Kompella with

 4   prejudice. A true and correct copy of the Department’s Request for Dismissal of Mr. Iyer and

 5   Mr. Kompella, which was filed on April 6, 2023, is attached hereto as Exhibit H. A true and

 6   correct copy of the corresponding Notice of Entry of Dismissal and Proof of Service, which was

 7   filed on April 11, 2023, is attached hereto as Exhibit I.

 8         I declare under penalty of perjury under the laws of the United States of America that the

 9   foregoing is true and correct, and this declaration was executed at Sacramento, California this

10   10th day of September, 2024.

11                                                                /s/ Carly J. Munson______________
                                                                  CARLY J. MUNSON
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